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 7
 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
11    SEUNGTAE KIM, an Individual;     ) Case No.: CV 14 – 1752 BRO SH
                                       )
12                                     ) Hon. Beverly Reid O’Connell
            Plaintiff,                 )
13                                     )
            vs.                        )
14                                     ) ORDER OF DISMISSAL WITH
      BMW FINANCIAL SERVICES NA, ) PREJUDICE OF DEFENDANT
15    LLC., a business entity; EQUIFAX ) EQUIFAX INFORMATION
      INFORMATION SERVICES LLC, a ) SERVICES LLC, ONLY
16    business entity; EXPERIAN        )
      INFORMATION SOLUTIONS, INC., a )
17    Corporation; TRANSUNION, LLC., a )
      business entity, and DOES 1-10,  )
18    Inclusive,                       )
                                       )
19          Defendants.                )
                                       )
20                                     )
                                       )
21                                     )_
22
            Plaintiff Seungtae Kim has announced to the Court that all matters in
23
      controversy against Defendant EQUIFAX INFORMATION SERVICES LLC
24
25    (“EQUIFAX”) have been resolved.

26          A Stipulation of Dismissal with Prejudice has been signed and filed with the

27    Court. Having considered the Stipulation of Dismissal with Prejudice, the Court
28    makes and delivers the following ruling:

                                                     1
                      ORDER re: Stipulation of Dismissal With Prejudice of Equifax, only
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 1          IT IS ORDERED that the claims and causes of action asserted herein by

 2    Plaintiff Seungtae Kim against Defendant EQUIFAX, ONLY, are in all respects
 3    dismissed with prejudice.
 4    IT IS SO ORDERED.
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 6    Dated: August 26, 2014
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 8                                        By:
 9                                                HON. BEVERLY REID O’CONNELL
                                                  United States District Court Judge
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                      ORDER re: Stipulation of Dismissal With Prejudice of Equifax, only
